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SHAPIRO, DICARO & BARAK, LLC

Attomeys for Tower Capital Management, LLC as
Servicer for NYCTL 2014-A Trust and The Bank of New
York as Collateral Agent and Custodian

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Melville, NY 11747

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Shari S. Barak, Esq.

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
CHAPTER 7
In re:
CASE NO. 13-45519-nhl
Herman Segal,

Debtor.

 

NOTICE OF APPEARANCE AND
DEMAND FOR SERVICE OF PAPERS

PLEASE TAKE NOTICE, that the undersigned appears as counsel for Tower Capital
Management, LLC as Servicer for NYCTL 2014-A Trust and The Bank of New York as
Collateral Agent and Custodian, a creditor and a party in interest, and pursuant to Rules 2002 and
9010(b) of the Federal Rules of Bankruptcy Procedure, demands that all notices given or
required to be served in this case be given or served, as the case may be, to or upon the
undersigned at the post office address and telephone and facsimile number set forth below.

Dated: March Cf , 2015

  

 

 

Shari S. Barak, Esq.
Managing Attorney
Shapiro, DiCaro & Barak, LLC

Attorneys for Tower Capital Management, LLC as
Servicer for NYCTL 2014-A Trust and The Bank of
New York as Collateral Agent and Custodian

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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
CHAPTER 7

In re:
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Herman Segal,

Debtor.

 

KF AIL

STATE OF NEW YORK _ )
)ss:
COUNTY OF NASSAU COUNTY )

I, Christina Valenzuela, being sworn, say, I am not a party to this action; I am over 18

years of age, I reside in Nassau County, New York.

On 3/ 4 3B , 2015 I served the within Notice of Appearance upon:

TO: Debtor
Herman Segal
4115 Quentin Road
Brooklyn, NY 11234

Trustee

Richard E. O'Connell

Yost & O'Connell

24-44 Francis Lewis Boulevard
Whitestone, NY 11357

U.S. Trustee

Office of the United States Trustee
Eastern District of NY (Brooklyn Office)
U.S. Federal Office Building

201 Varick Street/Suite 1006

New York, NY 10014

Clerk of Court

US Bankruptcy Court, EDNY

271-C Cadman Plaza East /Suite 1500
Brooklyn, NY 11201

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the addresses designated by the foregoing individuals for that purpose by depositing a true copy
of same enclosed in a postpaid, properly addressed wrapper, in an official depository under the
exclusive care and custody of the United States Postal Service within the State of New York.

Lg

Christina V uela
Bankrupt¢y Paralegal

Sworn to before me this
{$** day of March, 2015

oon

Notary Public

S STEVEN MATRAY
Noten Public, State of New York
No. 01 MA630973" ty
ed in Nassau Coun
eettission Expires 08/18/2018

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